Case 1l-Ly-401l1o-nAl Doc 141i Filed l2/Oo/zi Entered Le/Oo/e2l teiLliOy

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICTOF NEW YORK

<Enter Division name if applicable, else delete this text>

 

 

 

 

In Re. GREEN GROUP 11, LLC § Case No. 19-40115
§
§
Debtor(s) §
(_] Jointly Administered
Monthly Operating Report Chapter | 1
Reporting Period Ended: 11/30/2021 Petition Date: 01/08/2019
Months Pending: 35 Industry Classification:| 5S [ 3 ] 1 [ 1 |
Reporting Method: Accrual Basis (@ Cash Basis (~
Debtor's Full-Time Employees (current): 0
Debtor's Full-Time Employees (as of date of order for relief); 0

Supporting Documentation (cheek all that are attached):

(For jointly administered debtors, any required schedules must be provided on 4 non-consolidated basis for each debtor)

 

 

 

ix] Statement of cash receipts and disbursements

4] Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit

XX Statement of operations (profit or loss statement)

xj Accounts receivable aging

ij Postpetition liabilities aging

[x] Statement of capital assets

ix] Schedule of payments to professionals

x] Schedule of payments to insiders

All bank statements and bank reconciliations for the reporting period

xl Description of the assets sold or transferred and the terms of the sale or transfer

/S/ Michael Kandhorov Michael Kandhorov

Signature of Responsible Party Printed Name of Responsible Party

ee 220 Green Avenue
Brooklyn, New. York 1123843380
Address

 

STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C_E.R,
§ 1320.4(a){2) applies,

UST Form | 1-MOR (06/07/2021) 1

 
Case 1l-Ly-401l1o-nAl Doc 141i Filed l2/Oo/zi Entered Le/Oo/e2l teiLliOy

Debtor's Name GREEN GROUP 11, LLC Case No, 19-40115

CTS 5 pre cera ears j Cunialative

   

 

 

 

Cash balance beginning of month $43,380

Total receipts (net of transfers between accounts) $6,195 $6,195
t, Total disbursements (net of transfers between accounts) $1,506 $1,506
d. Cash balance end of month (a+b-c) $48,069
e. Disbursements made by third party for the benefil of the estate $0 $0
f. Total disbursements for quarterly fee calculation (+e) $1,506 $1,506

 

2: Asset and Liability Status a Sea Sg) ck a

  

Crafly applicable ta Individual Deb

 

a Accounts receivable (total net of allowance) $0
bh. Accounts receivable over 90 days outstanding (net of allowance) s0
c. Inventory (Book(~ Market (~ Other @ (attach explanation)) $0
d= Total current assets $58.069
e. Total assets $1,857,069
f.  Postpetition payables (excluding taxes) $0
g. Postpetition payables past due (excluding taxes) $0
h,  Postpeution taxes payable $0
1.  Postpetition taxes past due $0
J. Total postpetition debt (f+h) $0
k. Prepetition secured debt $422.881
|. Prepetition priority debt $4,988
m. Prepetition unsecured debt $484,765
n. Total liabilities (debt) G+k+l+m) $912,634
o. Ending equity/net worth (e-n) $944,435

ia = ae ase So aa —_ wane Cumulative

 
 
 

   

a. Total cash sales price for assets sold/transferred outside the ordinary

 

 

 

course of business $0 SO
b. Total payments to third parties incident to assets being sold/transferred

outside the ordinary course of business $0 $0)
c, Net cash proceeds from assets sold/cransferred outside the ordinary

course of business (a-b) $0 $0
” tt dt: 2h) | AN Sar Leet enw.

     
   

  

GNORgenermty applicnble io tndpeydual De bejrean UPti Reena] he

a. Gross income/sales (net of returns and allowances) $6,195

 

 

 

 

b. Cost of goods sold (inclusive of depreciation, if applicable) 30
¢. Gross profit (a-b) $6,195
d. Selling expenses $0
e. General and administrative expenses $0
{. Other expenses 5856
g. Depreciation and/or amortization (not included in 4b) $0
h. Interest $0
i, Taxes (local, state, and federal) $0
j. Reorganization items $1,300
k. Profit (loss) $40,390 84,039

 

bo

UST Form 11-MOR (06/07/2021)

 
Case 1l-Ly-401l1o-nAl Doc 141i Filed l2/Oo/zi Entered Le/Oo/e2l teiLliOy

Debtor's Name GREEN GROUP 11, LLC Case No. 19-40115

Part $: Professional tees and Expenses

 

Approved Approved Paid Current Paid

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Current Month | Cumulative Month Cumulative

a. Debtor's professional fees & expenses (bankruptcy) degregate Total $115,404 $1,154,040 $67,729 $67,729

fremized Breakdown by Firm om

Firm Name Role
i LAW OFFICE OF IRA ABEL |Lead Counsel $95,672 $956,720 $47,997] $47,997
ti JIMSPIEGEL, LLC Financial Professional $19,732 $197,320 $19,732| $19,732
Approved Approved Paid Current Paid
Current Month} Cumulative Month Cumulative

b. Debtor's professional fecs & expenses (nonbankrupicy) Ageregute Totul $0

Jiemized Breakdown by Firm a

Firm Name Role

i $0

ii $0
c. All professional fees and expenses (debtor & committees)

__ Current Month Cumulative

a. Postpetition income taxes accrued (local, state, and federal) $0 $0
b. Postpetition income taxes paid (loval. state, and federal) $0 $0
¢. Paostpetition employer payroll taxes accrued $0 $0
d. Postpetition employer payroll taxes paid 50 $0
e. Postpetition property taxes paid $0 30
f.  Postpetition other taxes accrued (local, state, and federal) $0 $0
2. Postpetition other taxes paid (local, state, and federal) 30 50)

 

 

a, Were any payments made on prepetition debi? (if yes, see [nstructiuns) YesC No@
b. Were any payments made outside the ordinary course of business YesC Not
without court approval? (if yes, see Instructions)
c. Were any payments made to or on behalf of insiders? Yes( No
d, Are you current on postpetition tax return filings? Yes (@ No”
¢, Are you current on postpetition estimated tax payments? Yes (@ Nol
f Were all trust fund taxes remitted on a current basis? Ye ( No@
g. Was there any postpetition borrowing, other than trade credit? Yes Not
(if yes, see Instructions)
h. Were all payments made to or on behalf of professionals approved by Yes@ No NAC
the court?
i, Do you have: Worker's compensation insurance’? Yes (" No (
If yes, are your premiums current? Yes (@ No N/A (~ (ifno, see Instructions)
Casualty/property insurance? Yes (@ Not”
if yes, are your premiums current? Yes @ No NAC (ifno, see Instructions)
General liability insurance? Yes@ No
If yes, are your premiums current? Yes(@ No N/A” (ifno, see lnstructions)
j- Has a plan of reorganization been filed with the court? Yes (@ No

UST Form 11-MOR (06/07/2021) 3

 
Case 1l-Ly-401l1o-nAl Doc 141i Filed l2/Oo/zi Entered Le/Oo/e2l teiLliOy

Debtor's Name GREEN GROUP 11, LLC Case No, 19-401 15
k. Has a disclosure statement been filed with the court? Yes@ No (~
|. Are you current with quarterly U.S, Trustee fees as Yes@ Nol

set forth under 28 U.S.C. § 19307

 

 

 

 

Part 8: Individual Cliapiter 11 Debtors (Only)

a. Gross income (receipts) from salary and wages 30
b. Gross income (receipts) from self-employment £0
e. Gross income from all other sources $0
gd. Total income in the reporting period (a+b+e) $0
e. Payroll deductions $o
f Self-employment related expenses $0
gy. Living expenses $0
h. All other expenses $0
1. Total expenses in the reporting period (e+fte¢+h) $0
| Difference between total income and total expenses (d-i) $a
k. List the total amount of all postpetition debts that are past due $0
1, Are you required to pay any Domestic Support Obligations as defined by || Yes No (

U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments? Yes™ No( N/A

Privacy Act Statement
28 U.S.C, § 589b authorizes the collection of this information, and provision of this information is mandatory under ]] U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C, § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood ofa plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 ct seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www. justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee, 11 U.S.C. § 1112(6)(4)(F).

| declare under penalty of perjury that the feregoing Monthly Operating Report and its supporting
documentation are truc and correct and that | have been authorized to sign this report on behalf of the

 

 

 

 

estate,

S/S MICHAEL KANDH MICHAEL KANDHOROV
Signature of Responsible Party Printed Name of Responsible Party
MEMBER 12/07/2021

Title Date

UST Form 11-MOR (06/07/2021) 4

 
Case 1l-Ly-401l1o-nAl Doc 141i Filed l2/Oo/zi Entered Le/Oo/e2l teiLliOy

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re GREEN GROUP 11, LLC Case No. 19-40115 - nhl
Debtor Reporting Period: NOVEMBER 2021

 

Federal Tax L.D.# 81-XXXX7295

 

SINGLE ASSET REAL ESTATE COMPANIES

File with the Court and submit a copy to the United States Trustee within 20 days after the end of the month and
submit a copy of the report to any official committee appointed in the case.

(Reports for Rochester and Buffalo Divisions af Western District of New York are due 15 days after the end of

the month, as are the reports for Southern District of New York.)

REQUIRED DOCUMENTS Form No. Document |Explanation

Schedule of Cash and Disbursements
k Reconciliation (or copies of debtor's bank

of bank statements

Cash disbursements
Statement of ons
Balance Sheet
Sum of U

Cc of tax returns filed

Roll

Pa to Insiders and Professional
Post Petition Status of Secured Leases
Cash Flow
Debtor ionnaire

 

| declare under penalty of perjury (28 U.S.C. Section
are true and correct to the best of my knowledge

1746) that this report and the attached documents
belief.

     

 

 

Signature of Debtor Date
ss
/s/ Michael Kandhorov 12/7/202 |
Printed Name of Authorized Individual Michael Kandhorov Date

 

*Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor is a
partnership; a manager or member if debtor is a limited liability company.

FORM MOR (RE)
2/2008
PAGE 1 OF 12

 
Case 1l-Ly-401l1o-nAl Doc 141i Filed l2/Oo/zi Entered Le/Oo/e2l teiLliOy

 

In re GREEN GROUP 1, LLC Case No. 19-40115 - nhl
Debtor Reporting Period: NOVEMBER 2021

SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

Amounts reported should be from tie debtor's books and not the bank statement, The beginning cast should be the eriding Gash from the prior month
of, if this is the first report, the anrount should be the balance on the date the petition was filed, The amounts reported in the "CURRENT MONTH -
ACTUAL” column must equal the sum of the fhree bank apcount columns. Attach copies of the bank statements and the cash disbursements journal
The total disbursements listed in the disbursements journal must equal the total disbursements reported on this pape. A bank reconciliation must be
attached foreach account, [See MOR-| (CGN*T)]

BANK ACCOUNTS

TD BANK DIP : reins 0) ‘
: a . ACTUAL (TOTAL OF ALL
ORERSTI NG AM ACCOUNTS}

NUMBER (LAST 4) x3
SGINNING OF M 43

RECEIVED 61

RECEIVABLE -

ANS AND ADV.

(ATTACH
ANSFERS DIP AC
T

ITY
1 COMPANY FEE
AIRS /
ENT FINANCING

ISTRATIVE
/PPLIES
COUNTS PAYABLE
WNER DRAW *
ERAL INSEL FEE

(TO
T COSTS
TAL J
CASH FLOW
RECEIPTS LESS DISBURSEME
—END OF

 

THE FOLLOWING SECTION MUST BE COMPLETED

DBEURSEMENTS FOR CALCULATING ILS, TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTIF ACTUAL COLUMN)

 

 

 

 

 

 

 

 

TOTAL DISBURSEMENTS 1506
LESS: TRANSFERS TO OTHER DEBTOR IN 0
POSSESSION ACCOUNTS
PLUS: ESTATE DISBURSEMENTS MADE BY 0
OUTSIDE SOURCES (i.e. from escrow accounts)
TOTAL DISBURSEMENTS FOR CALCULATING 1506
U.S. TRUSTEE OUARTERLY FEES

FORM MOF-1 (RE)

 

22008
PAGE 2 OF 12
Case 1l-Ly-401l1o-nAl Doc 141i Filed l2/Oo/zi Entered Le/Oo/e2l teiLliOy

In re GREEN GROUP 11, LLC Case No. 19-40115 - nhl
Debtor Reporting Period: NOVEMBER 2021
BANK RECONCILIATIONS

Continuation Sheet for MOR-1
A bank reconciliation must be included for each bank account, The debtor's bank reconciliation may be substituted

for this page.
(Bank account numbers may be redacted to last four numbers.)

 

 

 

 

 

 

 

 

 

 

TD BANK DIP ‘Vax Other
OPERATING A/C
XXXX6960
iF #
BALANCE PER BOOKS 48069
BANK BALANCE 48069
(+) DEPOSITS IN TRANSIT
(ATTACH LIST).
(-) OUTSTANDING
CHECKS (ATTACH LIST):
OTHER (ATTACH
EXPLANATION)
ADJUSTED BANK 48069
BALANCE *

 

 

 

 

*"Adjusted Bank Balance" must equal “Balarice per Books"

TRANSIT Amount

Amount

 

OTHER

 

 

 

 

 

 

FORM MOR-1 (CONT)
272008
PAGE SOF 12
Case 1l-Ly-401l1o-nAl Doc 141i Filed l2/Oo/zi Entered Le/Oo/e2l teiLliOy

In re GREEN GROUP 11, LLC
Debtor

Case No. 19-40115 - nhl
Reporting Period: NOVEMBER 2021

STATEMENT OF OPERATIONS (Income Statement)

‘The Statement of Operations is to be prepared on an accrual basis, The accrual basis of accounting recognizes revenue

when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid

NCOME

Income
dditional Rental Income
‘ommon Area Maintenance Reimbursement
otal Income (attach MOR-5 Rent Roll)
RATI EXPENSES

and Truck
Maintenance &
“ommissions
Cc

Fees/Bonuses

Interest

axes - Real Estate
ravel and Entertainment
tilities
‘ax accountant
otal Before
Amortization
Profit Before Other Income &
R INCOME AND EXPENSES
Income (atlach schedule
nterest
‘attach schedule
Profit
REORGANIZATION ITEMS
Professional Fees
. 5. Trustee ees
Earned on Accumulated Cash from Chapter [1 (see

Loss Sale of

MEDIATOR
otal
Taxes
et Profit (Loss
“"Tosider" is defined im U1 U.S.C. Seetion 101(31),

 

 

2021
6195

FORM MOR-2 (RE)
272068
PAGE 4 OF 12
Case 1l-Ly-401l1o-nAl Doc 141i Filed l2/Oo/zi Entered Le/Oo/e2l teiLliOy

In re GREEN GROUP 11, LLC Case No. 19-40115 - nhl
Debtor Reporting Period: NOVEMBER 2021

 

BREAKDOWN OF “OTHER” CATEGORY

OTHER OPERATIONAL EXPENSES

 

 

 

 

 

OTHER EXPENSES

 

 

 

 

 

 

 

 

OTHER REORGANIZATION EXPENSES

 

Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
Interest earned on cash accumulated during the chapter 1] case, which would not have been earned but for ihe
bankruptcy proceeding, should be reported as a reorganization item.

FORM MOR.-2 (RE)

22008

PAGE 5 OF 12

 
Case 1l-Ly-401l1o-nAl Doc 141i Filed l2/Oo/zi Entered Le/Oo/e2l teiLliOy

 

In re GREEN GROUP 14, LLC Case Ne. 19-40115 - nhl
Debtor Reporting Period: NOVEMBER 2021
BALANCE SHEET

The Balance Sheet is ta be completed on an accrual basis only, Pre-petition liabilities must be classified separately fram post-petition obliganons.

is re ALUE AT. , Vi
CURRENT REPORTING PRIOR REPORTING DATE OR SCHEDULED
MONTH MONIIT

and Cash Equivalents /see continuation

‘Net
E

Curtent
TOTAL CU

ehicles

OTE

 

 

LIABILITIES AND OWNER EQUITY BOOK VALUE AT BOOK VALUE AT BOOK VALUE ON
END OF CURRENT END OF PRIOR PETITION DATE
REPORTING MONTH | REPORTING MONTH

 

 

 

 

 

 

LIABILITIES NOT SUBJECT TO COMPROMISE

fa

63961
6

 

A
LIABILITIES SUBJECT TO

N Ni

 

N
"Insider" wsdefined in 11 U.S.C Section 101031)

FORM MOFL-3 (RE)
22000
PAGE 6 OF 12

 
Case 1l-Ly-401l1o-nAl Doc 141i Filed l2/Oo/zi Entered Le/Oo/e2l teiLliOy

 

In re GREEN GROUP 11, LLC Case No. 19-40115 - hi
Debtor Reporting Period: NOVEMBER 2021
BALANCE SHEET - continuation section

ASSETS BOOK VALUEATEND  8OOK VALUE AT END BOOK VALUE ON
OF CURRENT OF PRIOR REPORTING PETITION DATE
REPORTING MONTH MONTH

 

Other Current Assets

 

 

 

 

 

 

 

 

Cxher Assets
LIABILITIES ANB OWNER EQUITY BOOK VALUE AT END BOOK VALUE ON
OF CURRENT PETITION DATE
REPORTING MONTH

 

Other Post-petition Liahilitves

   

 

 

 

 

Post-Petition Contributions

 

 

 

 

 

 

 

Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
Typically, restricted cash is segregated into a separate account, such as an escrow account,

FORM MOR-J (RE)

 

22068
PAGE 7 OF 12
Doc 141 Filed iz/Oo/zl entered Le/Ooicl teiliiOy

Case 1-Ly-401195-nnl

In re GREEN GROUP 711, LLC

 

Case No, 19-40115 - nhl

 

 

 

 

 

 

 

Debtor Reporting Period: NOVEMBER 2024
SUMMARY OF UNPAID POST-PETITION DEBTS
Number of Days Past Due
Current 0-30 31-60 &1-90 Over 91 Total
Mortgage
Rent
Secured Debt/Adequate Protection
Payments
Professional Fees 61361 1300) 1300) 63961

 

Real Estate Taxes

 

Other Post-Petition debt (list creditor)

 

 

 

 

 

 

Total Post-petition Debts

 

 

 

 

 

 

 

 

 

Explain how and when the Debtor intends to pay any past due post-petition debts.

 

 

 

 

 

FORM MOR-4 (RE)
22008
PAGE € OF 12

 
Doc 141 Filed iz/Oo/zl entered Le/Ooicl teiliiOy

Case 1-Ly-40119-nnl

In re GREEN GROUP 11, LLC

Debtor

RENT ROLL

Reporting Period: NOVEMBER 2021

Case No. 19-40115 - nhl

 

A rent roll must be included for each property. The debtor's rent roll may be substituted for this page. Attach additional sheets as needed.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Property:
Square Footage:
Common
Office | Warehouse | Total Sq. Lease Lease Lease Monthly | Annual Area
Tenant Unit # Area Area Ft. % of Bldg.| Type Term Start |LeaseEnd| Rent Rent Maint.
6295
Totals

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FORM MOR-S (RE)
2/2008
PAGE 8 OF 12

 
Case 1l-Ly-401l1o-nAl Doc 141i Filed l2/Oo/zi Entered Le/Oo/e2l teiLliOy

In re GREEN GROUP 11, LLC Case No. 19-40115 - nhl
Debtor Reporting Period: NOVEMBER 2021

PAYMENTS TO INSIDERS AND PROFESSIONALS

OF the total disbursements shown on (he Cash Receipts and Disbursements Report (MOR-1) list the amount pard lo insiders (as defined in
Section 101(31) (AJ{F) of the U.S. Bankruptey Code) and to professionals. For payments to insiders, identify the type of compensation paid

(eg Salary, Banus, Commissions, lnsurance, Housing Allowence, Travel, Car Allowance, Etc.) Attach additional shects if necessary.

TYPE OF PAYMENT AMOUNT PAID TOTAL PAID TO DA

TOTAL PAYMENTS TO

ORDER
AUTHORIZING

PAYMENT AMOUNT APPROVED AMOUNT PAID AL PAID TO DA

Absl

TOTAL PAYMENTS TO
* INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED

POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
AND ADEQUATE PROTECTION PAYMENTS

MONTHLY PA AMOUNT PAID UNPAID POST:
NAME OF CREDITOR DUE DURING MONTH PETITION

TOTAL PA

 

 

 

TOTAL INCURRED &
UNPAID*

$1215

12746

FORM MOR-4 (KE)
22008
PAGE 10 OF 12
Case 1l-Ly-401l1o-nAl Doc 141i Filed l2/Oo/zi Entered Le/Oo/e2l teiLliOy

Case No. 19-40115 - nhl

In re GREEN GROUP 17, LLC A!
Debtor Reporting Period: NOVEMBER 2021
CASH FLOW PROJECTION FOR THE PERIOD THROUGH

 

A cash flow projection must be included for each property. The debtor's cash flow projection may be substituted for this page. Attach additional sheets as needed.
This projection needs to be completed at the beginning of the case, every year, o* When there are significant changes (ic. tenant change, rent change, etc. )

Property:
Square Footage:

 

Other Diterest

AXES ~ Estate

Entertainment

. Trustee
Costs

Income

enant

acancy

 

FORM MOR-7 (RE)
272008
PAGE 1| OF 12

 
In re

Case 1l-Ly-401l1o-nAl Doc 141i Filed l2/Oo/zi Entered Le/Oo/e2l teiLliOy

GREEN GROUP 11, LLC

 

Debtor

Case No. 19-40115 - nhl

Reporting Period: NOVEMBER 2021

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DEBTOR QUESTIONNAIRE
Must be completed each month. If the answer to any of the Yes No
questions is “Yes”, provide a detailed explanation of each item.
Attach additional sheets if necessary.
Have any assets been sold or transferred outside the normal course of x
business this reporting period?
Tave any tunds been disbursed from any account other than a debtor x
in possession account this reporting periud?
Ts the Debtor delinquent in the timely tiling of any post-petifion tax xX
returns?
Are Workers compensation, general lability or other necessary x
insurance coverages expired or cancelled, or bas the debtor received
notice of expiration or cancellation of such policies?
x
Is the Debtor delinquent in paying any insurance premium payment?
Have any payments been made on pre-petition liabilities this reporting K
period?
‘Are any post petition receivables (accounts, notes or loans) due irom xX
related parties?
Are any post petition State or Federal income taxes past due? xX
‘Are any post petition real estate taxes past due? x
Are any other post petition taxes past due? x
x
Have any pre-petition taxes been paid during this reporting period?
Are any amounts owed to post petition creditors delinquent? x
Have any post petition loans been been received by the Debtor from x
any party?
Is the Debtor delinquent in paying any U.S. Trustee fees? Xx
Ts the Debtor delimquent with any court ordered payments to attorneys xX
or other professionals?
Have the owners or shareholders received any compensation outside 0 *
the normal course of business?

 

 

 

 

 

 

FORM MOR-8 (RE)
22008
PAGE 12 OF 12
Case 1-Ly-4011o-nnAl Doc 141i

Bank

America’s Most Convenient Bank®

GREEN GROUP 11 LLC
DIP CASE 19-40115 EDNY

Filed L2fUorzi Entered L2/Oo/2l teil liQy

 

1of2

Statement Period: Nov 01 2021-Nov 30 2021

 

 

 

 

 

 

 

 

 

4202 HALSEY ST Cust Ref # @7OTEISI60-039-T HH
BROOKLYN NY 11207-2679 Primary Account #: SBE FEIEIEO
Chapter 11 Checking
GREEN GROUP 11 LLC Account # @3e@63p6960
DIP CASE 1-40115 EDNY
Beginning Balance 43,380.18 Average Collected Balance 46,224.30
Deposits 6,195.00 Interest Earned This Period 0.00
Interest Paid Year-to-Date 0,00
Checks Paid 856,36 Annual Percentage Yield Earned 0.00%
Electronic Payments 650.00 Days in Period 30
Ending Balance 48,068.82
Deposits -
11/46 DEPOSIT 6,195.00
Subtotal: 6,195.00
Checks Paid No. Cheeks: 2 “Indicates break in senal sequence or check processed electronically and listed under Electronic Payments
11/30 237 381.36 "N
11/30 238 475.00 by S**
Subtotal: 856.36
Electronic Payments
11/30 CCD DEBIT, QUARTERLY FEE FAYMENT 0000 650.00
Subtotal: 650.00
10/31 43,380.18 11/30 48,068.82

1/16 49,575.18

 
